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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


CHASITY WATKINS,as Guardian ofthe Person and
Estate of AIDEN GREEN,A minor,

                              Plaintiff,

       V.                                                           No. 18-CV-1297


VHS WEST SUBURBAN MEDICAL CENTER,INC.,
MARY LEUNG,R.N.; KARRI MacMILLAN,D.O.;
UNITED STATES OF AMERICA,

                      Defendants.


                              THIRD AMENDED COMPLAINT


       Plaintiff, CHASITY WATKINS,as Guardian ofthe Person and Estate of AIDEN GREEN,

a minor, complaining of the Defendants, VHS WEST SUBURBAN MEDICAL CENTER,INC.;

MARY LEUNG,R.N.; KARRI MacMILLAN,D.O.; and UNITED STATES OF AMERICA,by

and through its authorized agents and employees, NATASHA DIAZ, M.D. and TYLER

CALLAHAN,D.O., and each ofthem, states:

                                            COUNTI


       1.      On and before November 4, 2015, the Defendant, VHS WEST SUBURBAN

MEDICAL CENTER, INC. (hereinafter "WEST SUBURBAN"), was a hospital corporation

organized and existing pursuant to the laws of the State of Illinois and it employed nurses,

physicians and other healthcare professionals comprising a single organized medical staff within

its hospital facility located in Oak Park, Cook County, Illinois.

       2.      On November 4, 2015, at 1:34 a.m., the Plaintiff, CHASITY WATKINS, was

admitted into the labor and delivery area of the Defendant, WEST SUBURBAN, at 36 V2 weeks

gestational age with a diagnosis of premature rupture of the membranes.


                                                 1
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       3.      During the next several hours, following an order for continuous fetal monitoring,

the fetus appeared on the monitor tracing to be entirely normal with a normal baseline heartrate,

variability and accelerations.

       4.      By 5:40 a.m. a progress note documents "4 cm dilation / 90% effaced / -2 station,

and epidural in place".

       5.      At 6:36 a.m., the fetal signal is lost and a note authored by a nursing agent and

employee ofthe Defendant, WEST SUBURBAN,reads "adjusting EFM".

       6.      At 7:28 a.m., 52 minutes since the last recorded heartrate of the minor Plaintiff,

AIDEN GREEN, the Defendant, MARY LEUNG, R.N. (hereinafter "LEUNG"), an agent and

employee of the Defendant, WEST SUBURBAN, authored a note reading "attempting to locate

the FHR [fetal heart rate]", reflecting the fact that between 6:36 a.m. and 7:28 a.m., nursing agents

and employees of the Defendant, WEST SUBURBAN, including the Defendant, LEUNG, had

been unable to locate the minor Plaintiff, AIDEN GREEN's heartrate on the continuous fetal

monitor tracing.

        7.     At approximately 7:28 a.m. and as a result of her inability to locate the minor

Plaintiff, AIDEN GREEN's, fetal heartrate, the Defendant, LEUNG, phoned the Defendant,

KARRI MacMILLAN, D.O. (hereinafter "MacMILLAN"), to both notify the Defendant,

MacMILLAN, that she was unable to locate the fetal heartbeat of the minor Plaintiff, AIDEN

GREEN, and, further, requested that the Defendant, MacMILLAN, come to CHASITY

WATKINS'room to place internal monitors.

        8.      In response to the Defendant, LEUNG's request to the Defendant, MacMILLAN,

that Dr. MacMillan come to CHASITY WATKINS' to place internal monitors, the Defendant,

MacMILLAN, responded that she was rounding with NATASHA DIAZ, M.D. and TYLER
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CALLAHAN,D.O., who were acting in their capacity as agents and employees ofthe Defendant,

UNITED STATES OF AMERICA, and that she (Karri MacMillan, D.O.) would come by upon

completion of rounds.

       9.        Either during or immediately after the telephone conversation described above

between the Defendant, LEUNG, and the Defendant, MacMILLAN, the Defendant,

MacMILLAN, shared the details of her conversation with the Defendant, LEUNG, with

NATASHA DIAZ, M.D. and TYLER CALLAHAN, D.O., who were acting in their capacity as

agents and employees ofthe Defendant, UNITED STATES OF AMERICA.

       10.       Sometime between 7:28 a.m. and 8:00 a.m., NATASHA DIAZ, M.D. phoned the

Defendant, LEUNG,and advised LEUNG that she would be by after the completion ofrounds and

that in the interim that LEUNG should continue to attempt to find a fetal heartbeat.

           11.   At approximately 8:00 a.m. on November 4, 2015, Brenda Vega Candlario, R.N.

an agent and employee of the Defendant, WEST SUBURBAN,entered CHASITY WATKINS'

room upon the request of the Defendant, LEUNG,and found a newborn,"cold and no cry" lying

between CHASITY WATKINS' legs at which time Brenda Vega Candlario, R.N. sent out an

emergency call for help.

           12.   After a physician responded to the emergency call for help it was determined that

the minor plaintiff, AIDEN GREEN, was bom with profound asphyxia: a pH of 6.6 and a base

deficit of -27, and Apgar scores of 1, 4, 4, 4, at 1, 5, 10 and 15 minutes after major resuscitative

efforts.


           13.   On and after 6:36 a.m. on November 4,2015,the Defendant, WEST SUBURBAN,

by and through its nursing agents and employees, including but not limited to the Defendant,

LEUNG,were negligent in one or more ofthe following respects:
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             (a)     Failed to properly monitor AIDEN GREEN in utero;

             (b)     Failed to recognize that the fetus in utero was not being monitored;

              (c)    Allowed the minor Plaintiff, AIDEN GREEN, to go unmonitored by fetal
                     monitor tracing between approximately 6:36 a.m. on November 4,2015 and
                     the time that said minor Plaintiff was found appearing lifeless under his
                     mother's right thigh;

              (d)    Failed to attend to CHASITY WATKINS in a timely fashion;

              (e)    Failed to determine that the minor Plaintiff, AIDEN GREEN,had been bom
                     and was trapped between his mother's leg;

              (f)    Failed to properly monitor CHASITY WATKINS'labor by appropriate in-
                     room intervals and attention to the fetal monitor tracing;

              (g)    Failed to go up the nursing chain of command in a timely fashion;

              (h)    Failed to advise the Defendant, MacMILLAN,that AIDEN GREEN's fetal
                     heart rate had been lost since 6:36 a.m. during the above-described
                     telephone conversation at 7:28 a.m.

       14.    On November 4, 2015, the Defendant, WEST SUBURBAN, by and through its

physician agents and employees, including but not limited to the Defendant, MacMILLAN, were

negligent in one or more ofthe following respects:

              (a)     Failed to advise her seniors, NATASHA DIAZ, M.D. and TYLER
                      CALLAHAN,D.O., acting in their capacity as agents and employees ofthe
                     Defendant, UNITED STATES OF AMERICA, of the details of her
                     (MacMillan's)telephone conversation with the Defendant, LEUNG;

              (b)     Failed to immediately proceed to CHASITY WATKINS' room to both
                      place intemal monitors and to determine why AIDEN GREEN'S heart rate
                      had been lost since 6:36 a.m.;

              (c)     Failed to inquire ofthe Defendant, LEUNG,the length oftime that AIDEN
                      GREEN'S heart rate had been lost on the fetal monitor tracing;

              (d)     Advised NATASHA DIAZ, M.D. and TYLER CALLAHAN,D.O., acting
                      in their capacity as agents and employees of the Defendant, UNITED
                      STATES OF AMERICA,of the details of her telephone conversation with
                      the Defendant, LEUNG, but failed to go up through the physician chain of
                      command when her senior attending, NATASHA DIAZ, M.D., failed to
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                     take immediate and appropriate action to determine the well-being of
                     AIDEN GREEN;

               (e)   Failed to contact the charge nurse and request that the charge nurse assist
                     the Defendant, LEUNG, in determining the minor Plaintiff, AIDEN
                     GREEN'S well-being and to determine the cause ofthe inability to obtain a
                     fetal heart rate for AIDEN GREEN since 6:36 a.m.

         15.   On November 4, 2015, the Defendant, UNITED STATES OF AMERICA, by and

through its actual agents and employees, NATASHA DIAZ, M.D. and TYLER CALLAHAN,

D.O., and each ofthem, were negligent in one or more ofthe following respects:

               (a)   Failed to immediately travel to CHASITY WATKINS' room upon the
                     Defendant, MacMILLAN's telephone conversation with the Defendant,
                     LEUNG;

               (b)   Failed to determine that their subordinate, MacMILLAN, had had a
                     telephone conversation with Defendant, LEUNG, at approximately 7:28
                     a.m.;


               (c)   Failed to properly train the Defendant, MacMILLAN,to immediately alert
                     her seniors when a nurse called reporting an inability to obtain a fetal heart
                     rate tracing and requested placement of internal monitors to assist in that
                     regard;

               (d)   Were aware ofthe telephone conversation between the Defendant,LEUNG,
                     and the Defendant, MacMILLAN, but determined that any assessment of
                     fetal well-being could wait until after rounds had been completed.

         16.   As a proximate cause of the foregoing acts and/or omissions by the Defendant,

WEST SUBURBAN, by and through its authorized agents and employees, including but not

limited to the Defendants, LEUNG and MacMILLAN; the Defendant, UNITED STATES OF

AMERICA, by and through its authorized agents and employees, NATASHA DIAZ, M.D. and

TYLER CALLAHAN, D.O., the minor Plaintiff, AIDEN GREEN, was delivered without a

healthcare professional in the room, became trapped under his mother's right thigh and suffered

permanent and disabling injuries, including but not limited to hypoxic ischemic encephalopathy

(HIE).
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       17.    Attached hereto and made a part hereofis an Affidavit and medical report submitted

pursuant to Section 2-622(1) ofthe Illinois Code of Civil Procedure.

       18.    On November 1, 2017 counsel for the Plaintiff forwarded to the U.S. Department

of Health and Human Services via Certified Mail Plaintiffs Claim Form 95 with Exhibits (See

Exhibit"A")

       19.     On November 16,2017,the Department of Health and Human Services forwarded

to Plaintiffs counsel a letter acknowledging receipt of the Standard Form 95 and requesting

additional material.(See Exhibit"B")

       20.     On November 22, 2017, Plaintiffs counsel sent via Federal Express, all of the

information sought in the Department of Health and Human Services letter dated November 16,

2017.(See Exhibit"C")

       21.     Notwithstanding the fact that six months has expired since Plaintiff filed her

Standard Form 95 and despite Plaintiffs counsel letter of March 7, 2018, more than six months

has expired since the Claim Form 95 was received by the Department of Health and Human

Services.


       22.     Plaintiff has now exhausted her administrative claim under the Federal Tort Claims

Act and in accordance with Judge Thomas Durkin's Order of February 28, 2018, dismissing this

matter, without prejudice,(see Exhibit D),this matter is now ripe for filing.

        WHEREFORE, CHASITY WATKINS, as Guardian of the Person and Estate of AIDEN

GREEN, a minor, demands judgment against the Defendants, VHS WEST SUBURBAN

MEDICAL CENTER, INC.; MARY LEUNG, R.N.; KARRI MacMILLAN, D.O.; UNITED

STATES OF AMERICA,by and through its authorized agents and employees,NATASHA DIAZ,
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M.D. and TYLER CALLAHAN, D.O., and each of them, in a sum in excess of FIFTY

THOUSAND ($50,000.00).

               COUNT II -PARENTAL CARETAKING EXPENSE CLAIM
                                & FAMILY EXPENSE ACT


       1-17. Plaintiff CHASITY WATKINS, as Guardian of the Person and Estate of AIDEN

GREEN,a minor,incorporates Paragraphs 1 through 17 ofCount I, as though fully set forth herein,

as Paragraphs 1 through 17 of Count II.

       18.    As a proximate result of one or more of the aforementioned negligent acts and/or

omissions by the Defendants, VHS WEST SUBURBAN MEDICAL CENTER, INC.; MARY

LEUNG,R.N.; KARRI MacMILLAN,D.O.; UNITED STATES OF AMERICA,by and through

its authorized agents and employees, NATASHA DIAZ, M.D. and TYLER CALLAHAN,D.O.,

AIDEN GREEN'S mother, CHASITY WATKINS, and his father, TERRENCE GREEN, have

become obligated for past and future medical and parental caretaking expenses incurred on behalf

of AIDEN GREEN,and hereby makes a claim for same pursuant to 750 ILCS 65/15, commonly

known as the Family Expense Act.

       19.     On November 1, 2017 counsel for the Plaintiff forwarded to the U.S. Department

of Health and Human Services via Certified Mail Plaintiffs Claim Form 95 with Exhibits (See

Exhibit"A")

       20.     On November 16,2017,the Department of Health and Human Services forwarded

to Plaintiffs counsel a letter acknowledging receipt of the Standard Form 95 and requesting

additional material.(See Exhibit"B")

       21.     On November 22, 2017, Plaintiffs counsel sent via Federal Express, all of the

information sought in the Department of Health and Human Services letter dated November 16,

2017.(See Exhibit"C")
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       22.    Notwithstanding the fact that six months has expired since Plaintiff filed her

Standard Form 95 and despite Plaintiffs counsel letter of March 7, 2018, more than six months

has expired since the Claim Form 95 was received by the Department of Health and Human

Services.


       23.    Plaintiff has now exhausted her administrative claim under the Federal Tort Claims

Act and in accordance with Judge Thomas Durkin's Order of February 28, 2018, dismissing this

matter, without prejudice, (see Exhibit D), this matter is now ripe for filing.

       WHEREFORE,CHASITY WATKINS, as Guardian of the Person and Estate of AIDEN

GREEN, a minor, respectfully requests that judgment be entered in her favor and against the

Defendants, VHS WEST SUBURBAN MEDICAL CENTER, INC.; MARY LEUNG, R.N.;

KARRI MacMILLAN, D.O.; UNITED STATES OF AMERICA, by and through its authorized

agents and employees, NATASHA DIAZ, M.D. and TYLER CALLAHAN, D.O., in an amount

that will compensate her for the caretaking expenses and the medical expenses caused by the

Defendants' negligence. Pursuant to 735 ILCS 5/2-604, the amount of compensatory damages

sought cannot be stated; however, the damages substantially exceed all applicable minimum

jurisdictional amounts.




                                                                     cTL-
                                                   One of the Anomeys iqr Plaintiff
Michael P. Cogan
COGAN & POWER,P.C.
One East Wacker Drive, Suite 510
Chicago, Illinois 60601
(312)477-2500
(312)477-2501 (Fax)
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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION


CHASITY WATKINS,as Guardian of the Person and
Estate of AIDEN GREEN,A minor,

                                 Plaintiff,

      V.                                                       No. 18-CV-1297


VHS WEST SUBURBAN MEDICAL CENTER,INC.,
MARY LEUNG,R.N.; KARRI MacMILLAN, D.O.;
UNITED STATES OF AMERICA,

                      Defendants.



                                               AFFIDAVIT


      I, Michael Cogan, the affiant on oath, states:

      The total of money damages sought in this matter does exceed $50,000.




SUBSCRIBED


                                ,2018.



      NOTARY PUBLIC



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                 . A O'Donnell
                       T'lsis of Illinois
                               04/16/2019
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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CHASITY WATKINS,as Guardian of the Person and
Estate of AIDEN GREEN,A minor,

                               Plaintiff,

                                                                      No. 18-CV-1297


VHS WEST SUBURBAN MEDICAL CENTER,INC.,
MARY LEUNG,R.N.; KARRI MacMILLAN,D.O.;
UNITED STATES OF AMERICA,

                       Defendants.



                                            AFFIDAVIT


        1.     Your affiant has consulted with and reviewed the facts of the case with health

professional who the affiant reasonably believes is knowledgeable in the relevant issues involved

in this particular action, practices within the last six years in the area ofobstetrics and gynecology

and maternal fetal medicine who is qualified by experience in the subject of this case.

       2.       Your affiant concludes, based on consulting with the above-described individual,

that there is a reasonable and meritorious cause for the filing of this action.

        3.     The reviewing health professional has determined in a written report, after a review

ofthe medical records described in said report that there is a reasonable and meritorious cause for

the filing ofsuch action.

       4.      The reviewing health professional is licensed in the State of California to practice

medicine in all of its branches and is Board Certified in obstetrics and gynecology and maternal

fetal medicine.




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     FURTHER YOUR AFFIANT SAYETH NOT.




                                                        MICHAEL P COG

SUBSCRIBED At
  for^



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     NOTARTTUBLIC

                          Official Seal
                       Nancy KO'Donnell
             VM        PublicExpires
             ^JJyC^pmisslon   State of04/16/2019
                                       Illinois




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                                       MEDICAL REPORT


         1 am a physician licensed to practice medicine by the State of California and I am board
 certified in both obstetrics and gynecology and in maternal fetal medicine. I am knowledgeable
 in the relevant issues involved in this particular matter, I have practiced longer than six years in
the same areas of medicine that are at issue in this case and I am qualified by experience and have
demonstrated confidence in the subject matter of this case. I have been provided with and have
reviewed the medical records ofChasity VVatkins and Aiden Green (Watkins, Babyboy)from West
Suburban Hospital and I have also reviewed the depositions of Mary Leung, R.N. and Karri
 MacMillan, D.O.

        Based upon my review of this material, it is my opinion that there is a reasonable and
 meritorious cause for the filing of an action against Dr. Karri MacMillan, Dr. Tyler Callahan,
and Dr. Natasha Diaz for the following reasons:

        MacMillan testified that approximately 6:50 a.m. was the last time she believed the monitor
tracing showed evidence of Aiden Green's fetal heart rate.

        At 7:19 a.m. the record reflected that Mary Leung, R.N. was attempting to locate the fetal
heart rate without success.

        At 7:28 a.m., it is again documented that Mai-y Leung, R.N. was attempting to locate the
fetal heart rate, without success. Based upon the record and her deposition transcript, Nurse Leung
spoke with Dr. Karri MacMillan and shared with Dr. MacMillan her unsuccessful attempts to
locate the FHR (fetal heart rate) and requested that Dr. MacMillan come to the room to place
internal monitors. According to the depositions of both Dr. MacMillan and Nurse Leung, Dr.
MacMillan responded that she was in the process of performing morning rounds with the obstetrical
team, including Dr. Callahan and Dr. Diaz, at the time tliat Mary Leung RN called Dr. MacMillan. Dr.
MacMillan advised Nurse Leung that she would come to Ms. Watkins' room once rounds had been
completed. In the interim, she suggested that Nurse Leung make further attempts to locate the
fetal heart rate without offering any specific medical advice regarding how to locate said fetal
heart rate.

        The fetal heart rate was never found by Nurse Leung who, at approximately 8:00 a.m.,
asked for assistance which was offered by the charge nurse, Nurse Brenda Vega Candclario, who
was coming off shift.

        Shortly after 8:00 a.m. this nurse found the newborn under Chasity Watkins' right thigh,
face down, unresponsive, cool to touch and bluish-purple. Additional medical staff were called
emergently to the room and resuscitative efforts went forward.

       The newbom was born with profound asphyxia. The arterial blood gas pH was 6.6 with a
base deficit of -27. Dr. MacMillan testified that an arterial blood gas pH of 6.6 is "very
worrisome. Apgar scores of 1, 4, 4. 4, at 1.5, 10 and 15 minutes were recorded after major
resuscitative efforts. Aiden Green was ultimately diagnosed with hypoxic ischemic
encephalopathy (HIE). Based upon my training, education and experience and review of the
material described above, it is my opinion that there is a reasonable and meritorious cause for the
filing ofan action against Karri MacMillan, D.O. and Mary Leung. R.N., for the following reasons:
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        Dr. MacMillan's response to Nurse Leung's call for help was woefully inadequate and a
clear violation of the standard of care. Rather than advising Nurse Leung that she would come to
the room after completing her rounds, Dr. MacMillan should have advised her attending, Dr. Diaz,
of the substance of the phone call and expediliously moved to Ms. Watkins' room or make sure
that either fellow. Dr. Callahan, or the attending, Dr. Diaz, go in her stead. It is quite troubling
that more than 30 minutes after Nurse Leung's call for help neither Dr. MacMillan or a member
of her rounding team had yet made it to Ms. Watkins' room. Had Dr. MacMillan acted as a
reasonably careful physician under these circumstances, she would have been at the room within
minutes and examined Ms. Watkins. Moreover, Dr. MacMillan's failure to offer Nurse Leung any
medical advice regarding how to successfully locate the fetal heart rate, instead of merely
suggesting she would arrive at the room after rounds, is a violation of the standard of care. It is
my opinion that had Dr. MacMillan arrived at Chasity Watkin's room when Nurse Leung called,
she would have immediately determined that the newborn had delivered or, in the alternative, that
Ms. Watkins had progressed rapidly, was fully dilated and ready to deliver. In either event, it is
more probably true than not that this crisis would have been avoided.

       I further believe that there is reasonable and meritorious cause for the filling of an action
against Mary Leung, R.N. When Nurse Leung took report from her predecessor, the fetal heart
rate was not present on the monitor. In fact, it appears that the fetal heart rate was last seen on the
monitor at approximately 6:36 a.m.

        At 7:19 a.m., a note reveals that Nurse Leung was attempting to locale the fetal heart rate.
She was unsuccessful. At that point, the standard of care applicable to a reasonably well-qualified
obstetrical nurse required Nurse Leung to reach out to Dr. MacMillan, which includes those
physicians making up the obstetrical team, Dr. Callahan and Dr. Diaz, and to her charge nurse. Had the
obstetiical team of Dr. MacMillan, Dr. Callahan and/or Dr. Diaz failed to respond to Nurse Leung
at or about 7:19 a.m. as they did at 7:28 a.m., it was then incumbent upon Nurse Leung to
immediately and aggressively go up the nursing chain of command by seeking an immediate
consult from her charge nurse. If the charge nurse and/or Dr.MacMillan did not respond within
minutes, it would then be incumbent upon Nurse Leung to follow the Hospital's nursing
chain of command and to do so rapidly. Passively accepting Dr. MacMillan's response to her
call at or about 7:28 a.m. that she (Dr. MacMillan) would come by after rounds was a departure
from the standard of care on the part of Nurse Leung. Nurse Leung's failure to contact her
charge nurse within minutes of her 7:19 a.m. note was likewise a depai'ture from the standard of
care on the part of Nurse Leung. Had Nurse Leung complied with the standard of care in acting as
the eyes and ears of her patient, it is difficult to accept that someone would not have been
available to examine Ms. Watkins by 7:30 a.m. Had this occuiTed, it is my opinion that the child
would have been found delivered or that Ms. Watkins would have been found to be fully dilated
and the fetal head crowning.
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       Had Dr. MacMillan, Dr. Callahan, Dr. Dmz or Nurse Leung complied with the standard
of care and acted aggressively on behalf of Ms. Watkins and her unborn/newborn child,
there is a reasonable likelihood that the catastrophic outcome would have been avoided.

       I reserve my right to change and/or update these opinions as fuither information becomes
available.
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 May 3,2016


Michael P. Cogan
Cogan & Power, P.C.
I Past Wacker Drive
Suite 510
Chicago, IL 6060!

                                                          Re: Aicien Green/Chastily Watkins



Dear Mr Cogaii,

In response to your request, I am issuing the follow report related to the delivery of the above
eaptioned patient. I he eonclusions eontained herein result, in part, from the materials sent by
your office contained on a DVD including:
                  Fetal monitor tracings from West Suburban Hospital
                  Hospital records for Chastity Watkins
                  Hospital records lor Aidcn Green( her newborn son)
                  Dischaige summary from Luric Childrens Hospital( Following neonatal transfer)
From the records the following facts are clear;

    1. The patient is admitted at ~0134 on 1 1 /04/2015 , at 36 '/^ weeks OA with a diagnosis or
       premature rupture of the membranes( PROM).
   2. During the ne.\t several hours, following an order for continuous fetal monitoring, the
      fetus appears entirely normal with normal baseline heart rate, variability, and
       accelerations!       indicating no apparent adverse condition.
   3. By 0540 hours, a progress note documents: 4 cm dilulion/90%enaced./-2 station, and
       epidural in place.
   4. At 0636 hours, the fetal signal is lost, with a note by the nurse at 0641 ,"adjustin" ETM'
   3. At 0728, 52 minutes since the last recorded fetal heart rate, another nursina note ""
       attempting to locate the FHR" is entered.
   6. At appro.ximately 0800 a nurse in the room finds a newborn,''cold and no cry" l> iiw
      between the patients legs, after which appropriate help is summoned.
   7. Aiden is born with profound asphyxia: a pH of 6.6 and base deficit of-27, and given
       Apgar scores of 1,4,4,4, at one, live, ten , and fifteen minutes after major recusiinii\e
       ellorts.
   8. After over two ntonths i.u the hospital, he Is rinnllv discharaed with a diagnosis of
       Hypoxic ischemic l:ncephalopaihy( I Ilk ).                    ""           "
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      honi lhe medical records, the I'acis listed above, and my expecienced as a Board
      Ccrlincd Maternal- I-eial Medicine specialist, it is clear that this newborn suffered from
      an injury occurring sometime after 0636 hours. While the record is so incomplete
      making it impossible to determine if the resultant injury occurred before the actual
      dcliveiy. or while the newborn was trapped between his mothers legs, it is certain that
      had proper monitoring of both mother and fetus been accomplished, that this end result
      would have been avoided. As a physieian licensed to practice in Illinois, I believe there
      IS piobablc cause to proceed with mnlpraciice action in this matter.
